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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                   )
                                            )
        v.                                  )         Crim. No. 24-10035-JEK
                                            )
 HAN LEE,                                   )
                                            )
        Defendant                           )

  GOVERNMENT’S ASSENTED TO MOTION TO CONTINUE SENTENCING HEARING

       The United States of America, with the assent of the defendant, hereby moves to continue

the sentencing hearing for defendant Han Lee currently scheduled for January 31, 2025. After

conferring with counsel for the defendant and the U.S. Probation Officer assigned to the

defendant’s presentence investigation, the parties request a continuance to a date in early March

2025 based on the availability of the Court and the parties.

       As grounds, the government requests additional time to provide information to Probation

to be used in the presentence investigation. The continuance is in the interest of the public and

defendant and will allow for a more accurate and detailed description of the offense conduct, and

a more individualized sentencing hearing, in this multi-defendant case that arose from a multi-year

investigation. Accordingly, the government, with the assent of the defendant, moves to continue

this sentencing hearing from January 2025 to either March 3, March 5 or March 7, 2025 at a time

that is convenient to the Court and the parties.

                                                      Respectfully submitted,

                                                      JOSHUA S. LEVY
                                                      United States Attorney

                                                By:   /s/ Lindsey E. Weinstein
                                                      LINDSEY E. WEINSTEIN
                                                      Assistant U.S. Attorney
                                                      1 Courthouse Way, Suite 9200
                                                      Boston, Massachusetts 02210
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                                      CERTIFICATE OF SERVICE


         I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants.

                                                  /s/ Lindsey E. Weinstein
                                                  LINDSEY E. WEINSTEIN
                                                  Assistant United States Attorney

Date: January 20, 2024
